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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTEFiN DISTR|CT OF TENNESSEEU§ .EiUS 'l Pi"§ !2'¢ 31
WESTERN D|VlS|ON

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UN|TED STATES OF A|V|ER|CA,
Plaintiff,

VS. CFt. NO. 02-20498-B

D|SCOUNT SATELL|TE, et a|.,

Defendants.

 

ORDEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time counsel for the
government requested a continuance of the August 1, 2005 trial date due to the
defendant’s fugitive status.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Monda§[l August 29, 2005l at 9:30 a.m., in Courtroom 1l 11th F|cor
of the Federa| Bui|ding, Memphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable
under 18 U.S.C. § 3161(h)(1)(A) and (B) because the defendant is either absent or

unavailable and her presence cannot be determined or obtained by due diligence

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iT lS 80 OFiDERED this Mday of duly, 2005.

§§/a\

UlEL BREEN `
N[:T D sTATEs DlsTFtlcT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:02-CR-20498 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

